                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES

Date: May 31, 2022            Time: 15 minutes              Judge: RICHARD SEEBORG
Case No.: 20-cr-00249-RS      Case Name: USA v. Rowland Marcus Andrade




Attorney for Government: Andrew Dawson
Attorney for Defendant: Michael Shepard, Luke Roniger
Defendant : [X] Present [ ] Not Present
Defendant Custodial Status: [] In Custody [X ] Not in Custody

Deputy Clerk: Corinne Lew                                     Court Reporter: Joan Columbini
Interpreter: n/a                                              Probation Officer: n/a

                                      PROCEEDINGS

 Status Conference Held - via Zoom.

                                       SUMMARY

 Court proceedings held by Zoom/Video Conference. General Order 74 authorizes the
 Court to proceed by way of video conference hearing.

 Case Continued to: August 30, 2022 at 2:30 pm for Further Status Hearing before Judge
 Seeborg to be held via zoom.

 Jury Selection/Trial set for August 7, 2023 at 9:00 am

 EXCLUDABLE DELAY:
 Category: Effective Preparation of Counsel
 Begins: 5/31/2022
 Ends: 8/30/2022

 Government to prepare an exclusion order.
